        Case 1:11-cr-00270-CG-N                        Doc# 189          Filed 01/07/15            Page 1 of 1                 PageID# 1177
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               MICHAEL DEWAYNE STEWART                                          &DVH1R       11-00270-004
                                                                                8601R 12341-003
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'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
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IT IS ORDEREDWKDWWKHPRWLRQLV
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the last judgment issued)RI                     PRQWKVis reduced to                                      

                                             (Complete Parts I and II of Page 2 when motion is granted)


ADDITIONAL COMMENTS
 Michael Dewayne Stewart is not eligible for a reduction. Application of the amendment would result in a new total
 offense level of 33, with a criminal history category of I, and a revised guideline range of 135 to 168 months. Although
 the defendant's guideline range would subsequently be lowered by application of the amendment, at the time of
 sentencing, Stewart received a sentence (72 months) which fell outside of the advisory guideline range. Pursuant to
 U.S.S.G. § 1B1.10(b)(2)(A), and Application Note 3, the Court may only grant a comparable reduction outside of the
 guideline range if the below-guideline sentence was due to the defendant providing substantial assistance to authorities.
 As the defendant's reduction was granted pursuant to 3553(a), a comparable reduction is not permitted. Therefore, the
 defendant would not benefit from a recalculation of the guidelines




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IT IS SO ORDERED                                                   Callie V.S. Granade                        Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                                                               DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                               Government, ou=Federal Judiciary,

2UGHU'DWH               January 7, 2014                           U.S. District Judge                        email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                               Date: 2015.01.07 10:19:36 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH                                                                              United States District Judge
                     (if different from order date)                                                Printed name and title
